Case 2:05-cV-02344-.]DB-tmp Document5 Filed 08/15/05 Page`10f4 Page|Dl

 

IN THE UNITED sTATES DISTRICT coURT Flu~ZD B`\’ .T%.D-°~
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 AUG |5 AHll= 31
?r{}W£~M.-GQULD
CLERK, U.S '”""“WT GOURT

  

RICKY R. DANIEL,

Plaintiff,
vs. No. 05-2344-B/P
UNITED STATES OF AMERICA, et al.

Defendants.

>-<>-<>'<>'<>-<><>-<>-<><>-<>-<

 

ORDER DENYING LEAVE 'I`O PROCEED I_N FORMA PAUPERIS
AND
ORDER DIRECTING PLAINTIFF TO REMIT $250 CIVIL FILING FEE

 

Plaintiff Ricky' R. Daniel, Bureau. of Prisons inmate
registration number 21490-001, an inmate at the Federal
Correctional Institution in Estill, South Carolina, filed a Q;Q §§
complaint pursuant to Bivens v. Six Unknown Fed. Narcotics Agents,
403 U.S. 388 (1971), on May 6, 2005, along with an i_n w
pauperis affidavit containing a certification by the trust fund
officer at the prison and a trust fund account statement.

Under the Prison Litigation Reform Act of 1995 (“PLRA”),
28 U.S.C. § 1915(a)-(b), all prisoners bringing a civil action must
pay the full filing fee of $250 required by 28 U.S.C. § 1914(a).1
The statute merely provides the prisoner the opportunity to make a

“downpayment” of a partial filing fee and pay the remainder in

 

1 Effective March 7, 2005, the civil filing fee was increased from $150 to

$250.

This document entered on the docket aheet in corrip!iamce @
_, , C
with Rule 58 andfor 79(a) FRCP on ff [,:§ O g

Case 2:05-cV-02344-.]DB-tmp Document 5 Filed 08/15/05 Page 2 of 4 Page|D 2

installments. See McGore v. Wridglesworth, 114 F.3d 601, 604 (6th
Cir. 1997) (“[w]hen an inmate seeks pauper status, the Only issue
is whether the inmate pays the entire fee at the initiation of the
proceeding or over a period of time under an installment plan.
Prisoners are no longer entitled to a waiver of fees and costs.”).

In order to take advantage of the installment procedures,
a prisoner plaintiff must properly complete and submit to the
district court, along with the complaint, either Form 4 of the
Appendix of Forms found in the Federal Rules of Appellate
Procedure, or an affidavit that contains the same detailed
information found in Form 4. McGore, 114 F.3d at 605. The prisoner
must also submit a certified prison trust fund account statement,
showing all activity in his account for the six months preceding
the filing of the complaint, and specifically showing:

l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and
3) the account balance when the complaint was submitted.

In this case, the documentation submitted by the prisoner
indicates that he has sufficient resources that there is no need to
permit him to pay the filing fee in installments. Accordingly, the
motion to proceed ip fp;ma pauperis is DENIED. The plaintiff is
ORDERED to remit the $250 civil filing fee within thirty (30) days
of the date of entry of this order. Failure to comply with this
order will result in dismissal of this action, pursuant to Fed. R.

Civ. P. 4l(b), for failure to prosecute, as well as assessment of

Case 2:05-cV-02344-.]DB-tmp Document 5 Filed 08/15/05 Page 3 of 4 Page|D 3

the filing fee from the plaintiff’s trust fund account without
regard to the installment payment procedures.

qh
IT rs so 0RDERED this [2. day of August, 2005.

 

J. D IEL BREEN \
IT D S'I‘ATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02344 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

Ricky R. Daniel
FCI-ESTILL
21490-001

P.O. BOX 699
Estill7 SC 29918

Honorable J. Breen
US DISTRICT COURT

